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 1   NICOLA T. HANNA
     United States Attorney
 2   PATRICK R. FITZGERALD
     Assistant United States Attorney
 3   Chief, National Security Division
     ANNAMARTINE SALICK (Cal. Bar No. 309254)
 4   Assistant United States Attorney
     Terrorism and Export Crimes Section
 5        1500 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-3424
 7        Facsimile: (213) 894-2927
          Email:      annamartine.salick2@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. SA 18-257M

13             Plaintiff,                    NOTICE OF REASSIGNMENT OF CRIMINAL
                                             CASE
14                   v.

15   STEPHEN WILLIAM BEAL,

16             Defendant.

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18
          Plaintiff, United States of America, hereby advises the court
19
     that the above-captioned case has been reassigned to a new Assistant
20
     United States Attorney ("AUSA") as follows:
21
                             Name                    E-mail Address
22
     Newly                   Annamartine Salick      annamrtine.salick@usdoj.gov
23   Assigned AUSA
24

25   Please make all necessary changes to the court’s Case Management/
26   Electronic Case Filing system to ensure that the newly assigned AUSA
27

28
     Case 8:18-mj-00257-DUTY Document 11 Filed 05/25/18 Page 2 of 2 Page ID #:28



 1
     is associated with this case and receives all e-mails relating to
 2
     filings in this case.
 3

 4   Dated:   May 25, 2018                Respectfully submitted,

 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          PATRICK R. FITZGERALD
 7                                        Assistant United States Attorney
                                          Chief, National Security Division
 8

 9                                           /s/ Annamartine Salick
                                          ANNAMARTINE SALICK
10                                        Assistant United States Attorney

11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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